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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

    BARCO, INC. et al.,                         §
                                                §
               Plaintiffs,                      §
                                                §
    v.                                          §     CIVIL ACTION NO. 2:23-cv-00521-JRG-RSP
                                                §
    YEALINK (USA) NETWORK                       §
    TECHNOLOGY CO., LTD. et al.,                §
.                                               §
               Defendants.                      §

                                            ORDER

         Before the Court is the Joint Motion to Modify Docket Control Order filed by Plaintiffs

Barco, Inc. and Barco NV and Defendants Yealink Network Technology Co., Ltd. and Yealink

(USA) Network Technology Co., Ltd. Dkt. No. 69. After consideration, and noting its joint nature,

the Motion is GRANTED.

         It is ORDERED that the deadline to complete claim construction discovery is extended to

January 17, 2025.
        SIGNED this 3rd day of January, 2012.
          SIGNED this 2nd day of January, 2025.




                                                    ____________________________________
                                                    ROY S. PAYNE
                                                    UNITED STATES MAGISTRATE JUDGE
